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    8
                       UNITED STATES DISTRICT COURT FOR THE
    9
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
   10
   11
        FRANKIE MITCHELL;                      Case No. 2:20-cv-01789-MCS (AGR)
   12
                          Plaintiff,           PLAINTIFF’S CONTENTIONS OF
   13         v.                               LAW AND FACT
   14   NEW YORK LIFE INSURANCE                PRETRIAL CONF.: June 7, 2021
        COMPANY, a business entity, form       TIME: 2:00 p.m.
   15   unknown; and DOES 1 through 15,
        Inclusive;                             TRIAL: June 22, 2021
   16
                          Defendants.          Hon. Mark C. Scarsi, Judge Presiding
   17
   18
   19         COMES NOW, Plaintiff Frankie Mitchell, to provide the following
   20   summary of Plaintiff’s Contentions of Law and Fact:
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    1   1.    INTRODUCTION.
    2         The person insured on a life insurance policy passed away. The beneficiary
    3   at that time is Plaintiff Frankie Mitchell. But the life insurance company has not
    4   paid the benefits, and has not provided much of a response as why the benefits
    5   have not been paid and what it did to try to pay those benefits.
    6         This is a breach of contract case against an insurance company. Plaintiff
    7   will seek to amend and renew the insurance bad faith complaint (Count Two) on
    8   which the Court granted Defendant’s motion for summary judgment, in part, on
    9   March 8, 2021.
   10         The life insurance policy was sold by the insurer’s solicitation of the
   11   insured, Richard Stevens. Mr. Stevens made his sister, Laura Mitchell, the
   12   beneficiary when he purchased the policy. As the company permits, the owner of
   13   the policy and the beneficiary of the policy were changed several times over the
   14   years. Plaintiff Frankie Mitchell is the nephew of Richard Stevens, by being
   15   Laura Mitchell’s son.
   16         For the Plaintiff, Stephanie Tennis, the fiancé of Plaintiff, will testify, about
   17   Plaintiff’s efforts to obtain payment on his claim, and the insurance company’s
   18   refusal to deal fairly with his claim, and to pay the policy benefits.
   19         Richard Stevens has two children, Linda Marks and Anthony Stevens, each
   20   of whom will testify that their father was a brother to Laura Mitchell, that each of
   21   them were at earlier times owners and beneficiaries of the policy, and that Plaintiff
   22   Frankie Mitchell is the beneficiary who should be paid by the insurer.
   23         The insurance company claims person known to Plaintiff who spoke with
   24   the Plaintiff and Ms. Tennis about the claim and policy, Nicole Holland.
   25         The policy should be paid to Plaintiff. While the policy is not high-dollar
   26   policy, the payment is important to Plaintiff and his family. The insurer’s lack of
   27   clear communications, in an investigation that was entirely one-sided towards
   28   getting a plausible reason to avoid paying the policy, is very serious.

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    1   2.    FURTHER FACTS SUPPORTING PLAINTIFF’S ALLEGATIONS.
    2         The life insurance policy was sold to Richard Stevens on his own life on
    3   March 31, 2012. This made his sister the beneficiary on the policy on his life.
    4   As permitted by the life insurance company, after the policy was sold, there were
    5   various changes made to the beneficiary of the policy, and to the owner of the
    6   policy. None of those changes are disputed by the defendant.
    7         On September 30, 2019, Richard Stevens passed away, outside of
    8   Sacramento where he lived. At that time, Plaintiff Frankie Mitchell was the
    9   owner of the policy, had made the premium payments on the policy, and was the
   10   beneficiary on the policy. On October 16, 2019, Plaintiff made his claim for
   11   benefits.
   12         To date, his claim for benefits has not been paid, or denied, nor has the
   13   policy been rescinded. Instead, the defendant life insurance company made a
   14   cursory and slight investigation, and decided to “stonewall” Plaintiff’s claim.
   15   Plaintiff hired counsel to pursue his claim and other rights.
   16         Following arguments on March 8, 2021, the Court granted a summary
   17   adjudication on the Plaintiff’s second cause of action, insurance bad faith.
   18   Plaintiff will seek to amend the Complaint to conform with proof after trial
   19   testimony, to show that the refusal of the insurance company to pay the benefits
   20   was without reasonable justification and was in bad faith. Plaintiff will seek to
   21   show that the actions of the insurance company as to the investigation of the claim
   22   were pre-determined, to support an already made decision to not pay the claim.
   23   Plaintiff will seek to show that the decision to not pay the claim is unreasonable,
   24   and subjects the insurance company to extra-contractural damages.
   25         The defendant insurance company has failed to fairly and adequately
   26   investigate the claim, with an open mind to paying the claim.
   27         Mr. Stevens had two adult children, Linda Marks and Anthony Stevens.
   28   There is no requirement that a parent name only their children as their life

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    1   insurance beneficiaries. Each of the adult children has submitted a declaration
    2   stating that they know that Plaintiff was the beneficiary at the time of the insured’s
    3   passing.
    4
    5   3.    LAW SUPPORTING PLAINTIFF’S ALLEGATIONS.
    6         An insurance policy is a special type of contract, because many insurance
    7   policies are never called upon to pay benefits. When an insurance policy has a
    8   claim made on it, the insurance company needs to investigate the claim fairly,
    9   giving every opportunity to pay the claim, and not only seeking to deny the claim.
   10   The insurance company must communicate frequently and with enough
   11   information to be meaningful, to assist the claimant in knowing what the
   12   insurance company is doing to pay the claim.
   13         While an insurance policy is a special type of contract, many ordinary
   14   contract principals apply. Wrongful failure to provide coverage or defend a claim
   15   is a breach of contract.” (Isaacson v. California Insurance Guarantee Assn. (1988)
   16   44 Cal.3d 775, 791. The insurance policy should be paid.
   17
   18   4.    THE DEFENSES TO THE POLICY PAYMENT ARE INADEQUATE,
   19         INSUFFICIENT, AND GIVE RISE TO INSURANCE BAD FAITH.
   20         An insurance company is required to try to pay the claim, unless there is
   21   sufficient information showing that a claim does not fall under the requirements of
   22   the policy, or other cause for not paying the claim. The investigation, and the
   23   reasoning of the insurance company, must be communicated regularly to the
   24   insured while the claim is pending, and be sufficient to inform the insured of what
   25   is going on to get the claim paid, or otherwise determined.
   26         The insurance company has not paid the claim, has not denied the claim,
   27   and has not taken action on the policy. The insurance company has not
   28   communicated about the policy or claim (outside of mediation) in a long time.

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    1         The defendant life insurance company asserts another defense, that is
    2   entirely built upon suspicion, not fact. Defendant insurer argues that the sister
    3   took out the policy, making herself the beneficiary, without the brother’s
    4   knowledge. Then, the Defendant insurer goes a step further, to argue that because
    5   the sister was only raised since being a baby with the family of her brother, not
    6   formally adopted, that the sister cannot be considered a sister, because of the
    7   insurable interest requirement.
    8         The Defendant insurer defenses fail on the facts: the insured was sold the
    9   policy, not the sister. The insured took out the policy, paid the premiums (until
   10   further changes were made) and the insured could certainly name his sister as the
   11   beneficiary. A sister, whether by informal adoption, putative adoption, or simply
   12   by growing up together, is more than a sufficient insurable interest under
   13   California law. The purpose of insurable interest is to prevent “gambling” on the
   14   lives of strangers; the evidence showing a family relationship is more than
   15   sufficient to satisfy the insurable interest requirement. The evidence shown by
   16   Plaintiff supports finding breach of contract, and more.
   17
   18   5.    THE FACTS SHOWN AT TRIAL ARE LIKELY TO SHOW THAT NOT
   19         ONLY WAS THE CONTRACT BREACHED, BUT THAT THE BREACH
   20         IS IN BAD FAITH.
   21         While the insurance contract has an implied obligation of good faith and
   22   fair dealing, the insurer’s unreasonable breach of that covenant gives rise to the
   23   additional count of insurance bad faith. For the insurer to fulfill its obligation not
   24   to impair the right of the insured toreceive the benefits of the agreement, it again
   25   must give at least as much consideration to the latter’s interests as it does to its
   26   own.” (Egan v. Mutual of Omaha Insurance Co. (1979) 24 Cal.3d 809, 818-819
   27   [169 Cal.Rptr. 691, 620P.2d 141].)
   28         If an insurer “fails to deal fairly and in good faith with its insured by

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    1   refusing, without proper cause, to compensate its insured for a loss covered by the
    2   policy, such conduct may give rise to a cause of action in tort for breach of an
    3   implied covenant of good faith and fair dealing. . . . [¶] . . . [W]hen the insurer
    4   unreasonably and in bad faith withholds payment of the claim of its insured, it is
    5   subject to liability in tort.” (Gruenberg v. Aetna Insurance Co. (1973) 9
    6   Cal.3d566, 574-575 [108 Cal.Rptr. 480, 510 P.2d 1032], original italics.)
    7         [A]n insurer may breach the covenant of good faith and fair dealing when it
    8   fails to properly investigate its insured’s claim.” (Egan v. Mutual of Omaha
    9   Insurance Co. (1979) 24 Cal.3d 809, 817 [169 Cal.Rptr. 691, 620 P.2d 141].)
   10   “[T]o establish the insurer’s ‘bad faith’ liability, the insured must show that the
   11   insurer has (1) withheld benefits due under the policy, and (2) that such
   12   withholding was ‘unreasonable’ or ‘without proper cause.’ The actionable
   13   withholding of benefits may consist of the denial of benefits due; paying less than
   14   due; and/or unreasonably delaying payments due.” (Major v. Western Home Ins.
   15   Co. (2009) 169 Cal.App.4th 1197, 1209 [87 Cal.Rptr.3d 556], internal citations
   16   omitted.)
   17         “[I]f the insurer denies benefits unreasonably (i.e., without any reasonable
   18   basis for such denial), it may be exposed to the full array of tort remedies,
   19   including possible punitive damages.” (Jordan v. Allstate Ins. Co. (2007) 148
   20   Cal.App.4th1062, 1073 [56 Cal.Rptr.3d 312].)
   21         At trial, the actions of the insurer to pay the claim, as well as to investigate
   22   the claim, will be weighed. “To fulfill its implied obligation, an insurer must give
   23   at least as much consideration to the interests of the insured as it gives to its own
   24   interests. When the insurer unreasonably and in bad faith withholds payment of
   25   the claim of its insured, it is subject to liability in tort. And an insurer cannot
   26   reasonably and in good faith deny payments to its insured without fully
   27   investigating the grounds for its denial.” (Frommoethelydo v. Fire Insurance
   28   Exchange (1986) 42 Cal.3d208, 214-215 [228 Cal.Rptr. 160, 721 P.2d 41],

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    1   internal citation omitted.)
    2         Defendant insurance company did not thoroughly investigate the claim.
    3   Instead, the insurance company determined to not pay the claim, without
    4   justification, failing to communicate the state or purposes of the investigation to
    5   the beneficiary.
    6   6.    AFTER THE JURY FINDS THAT THE INSURANCE BENEFITS MUST
    7         BE PAID, PLAINTIFF WILL MOVE THE COURT FOR AN
    8         ADDITIONAL AMOUNT OF ATTORNEYS FEES AND COSTS,
    9         INCURRED IN OBTAINING THE POLICY BENEFITS, PURSUANT TO
   10         CALIFORNIA LAW.
   11         When an insured has to hire a lawyer to get the policy benefits paid, the
   12   insurance company is liable for the attorneys fees incurred. The lead case that
   13   allows for attorney fees and litigation costs is Brandt v. Superior Court (Standard
   14   Ins. Co.), (1985) 37 Cal.3d 813, 817. In Brandt, the California Supreme Court
   15   established an exception to the general contract rule that each party bears its own
   16   attorney fees. Brandt allows recovery of attorney fees incurred in obtaining
   17   contract benefits when the insurer’s withholding of those benefits was in bad faith.
   18
   19   7.    CONCLUSION
   20         The evidence at trial, witness testimony, and documents admitted into
   21   evidence, are expected to show that the insurance policy was not only breached by
   22   the insurer, but that the breach was in bad faith. The policy benefits and other
   23   damages should be paid.
   24   DATED: May 18, 2021              ADEPT LAW FIRM
   25
   26                                           Joseph S. Fogel /s/
                                         By:
   27                                           JOSEPH S. FOGEL,
                                                Attorney for Plaintiff,
   28                                           FRANKIE MITCHELL

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